Case 3:19-cr-00191-MMH-JBT Document 55 Filed 11/14/19 Page 1 of 8 PageID 116
Case 3:19-cr-00191-MMH-JBT Document 55 Filed 11/14/19 Page 2 of 8 PageID 117
Case 3:19-cr-00191-MMH-JBT Document 55 Filed 11/14/19 Page 3 of 8 PageID 118
Case 3:19-cr-00191-MMH-JBT Document 55 Filed 11/14/19 Page 4 of 8 PageID 119
Case 3:19-cr-00191-MMH-JBT Document 55 Filed 11/14/19 Page 5 of 8 PageID 120
Case 3:19-cr-00191-MMH-JBT Document 55 Filed 11/14/19 Page 6 of 8 PageID 121
Case 3:19-cr-00191-MMH-JBT Document 55 Filed 11/14/19 Page 7 of 8 PageID 122
Case 3:19-cr-00191-MMH-JBT Document 55 Filed 11/14/19 Page 8 of 8 PageID 123
